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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 PROGRESS PARTNERS, INC.,                           )
                                                    )
          Plaintiff,                                )
                                                    )
  v.                                                )      Case No. 1:19-CV-12216
                                                    )
  IGNITIONONE, INC.,                                )
                                                    )
          Defendant.
                                                    )

                              FORM OF DEFAULT JUDGMENT

       Defendant IgnitionOne has failed to plead or otherwise defend in this action and its

default has been entered on November 26, 2019.

       Now, upon application of plaintiff and affidavits demonstrating that defendant owes the

sum of $590,000, that defendant is not an infant or incompetent person or in the military service

of the United States, and that the plaintiff has incurred costs in the sum of $400.

       It is hereby ORDERED, ADJUDGED AND DECREED that plaintiff recover from

defendant IgnitionOne, Inc. the principal amount of $590,000, with costs in the amount of $400

and prejudgment interest at the rate of 12% per annum from October 25, 2019 to November 26,

2019 in the amount of $5,900 for a total judgment of $596,300 with interest as provided by law.



                                                        By the Court,
                                                         /s/ Christine Bono
                                                        __________________________
                                                        Christine Bono
                                                        DEPUTY CLERK


DATED: January 22, 2020


                                                              1.55
NOTE: The post judgment interest rate effective this date is ____%.
